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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ROCHELLE IBARROLA, et al.,
                                                   Case No.: 1:17-cv-01530
       Plaintiffs,
v.                                                 Judge Gettleman

LENNY & LARRY’S, INC.,                             Magistrate Kim

       Defendant.


                         MOTION FOR LEAVE TO WITHDRAW
                                  APPEARANCE

        Pursuant to Local Rule 83.17, the undersigned respectfully requests leave to withdraw

 her appearance on behalf of Defendant LENNY & LARRY’S, INC. (“Defendant”). Brittney

 N. Cato has ended her employment at the law firm of Hinshaw & Culbertson, LLP.

 Defendant remains represented by D a v i d M . S c h u l t z . Permitting Ms. Cato to withdraw

 as counsel for Defendant will not jeopardize the case or otherwise negatively impact

 Defendant's legal representation in this case or result in any delay or cause prejudice to any

 other party.

       WHEREFORE, Brittney N. Cato respectfully requests that she be granted leave to

 withdraw her appearance on behalf of Defendant.

                                              Respectfully submitted,


                                              s/ Brittney N. Cato
                                              Brittney N. Cato
                                              Novack and Macey LLP
                                              100 North Riverside Plaza
                                              Chicago, IL 60606-1520
                                              312-419-6900




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                                 CERTIFICATE OF SERVICE

        I, an attorney, hereby certify that on June 11, 2018, I caused to be electronically filed the
foregoing MOTION FOR LEAVE TO WITHDRAW APPEARANCE with the Clerk of the
Court using the CM/ECF system which will send notification of such filing to all counsel of
record.




                                                  s/ Brittney N. Cato
                                                  Brittney N. Cato




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